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 3
                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF CALIFORNIA
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 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )               1:02-cr-5258 REC
 8                                 )
          v.                       )               NEW CASE NUMBER:
 9                                 )
     KRISTINE HERNANDEZ,           )               1:02-cr-5258 OWW
10                                 )
                    Defendant      )          ORDER REASSIGNING CASE
11   ______________________________)
12
          A petition for violation having been filed by the probation
13
     officer as to the above-named defendant;
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          IT IS HEREBY ORDERED that this case be reassigned from the
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     docket of Judge Robert E. Coyle to the docket of Judge Oliver W.
16
     Wanger.
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18
     Dated: June 7, 2005                      /s/ OLIVER W. WANGER
19                                            ______________________________
                                              OLIVER W. WANGER
20                                            United States District Judge
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